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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                   Plaintiff,
             v.
                                                    Case No. 21-MJ-609 (RMM)
RAYMOND GLOVER,

                   Defendant.



                            MOTION TO RECONSIDER
                           PRE-TRIAL INCARCERATION

      Mr. Raymond Glover respectfully moves this Honorable Court to reconsider

his pre-trial incarceration, and place him in the High Intensity Supervision

Program (HISP) under the custody of his mother, Bridgett Glover. Mr. Glover

incorporates, as part of this motion, all arguments presented to the Court in his

previous motion for release. See ECF Nos. 12; 21.

      On November 15, 2021, following a thorough and thoughtful hearing,

Magistrate Judge Faruqui concluded that Mr. Glover should be released, however,

under a number of stringent conditions. See ECF No. 18. After a government

appeal, the Magistrate Court’s order was reversed. At the time, Mr. Glover proposed

living with his aunt and cousin, who would stay at the home part-time. The order of

detention cited, among other things, health issues with Mr. Glover’s aunt, who was

in remission from cancer, and her lack of technological sophistication as barriers for

release. There were also internet capable devices in the home.
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      Since then, Mr. Glover’s mother obtained a new apartment in order to

facilitate her son’s placement in her custody. The home is completely devoid of

internet or Wi-Fi. The only internet capable device in the home is a password

protected personal cell-phone. Ms. Glover, however, is willing to exchange her cell-

phone for one that does not have any access to the internet—making it impossible to

access the internet from the home. Additionally, Mr. Glover’s aunt, Kim, will serve

as a secondary third party custodian. Kim Glover has a background in information

technology, which gives her the requisite knowledge to ensure Mr. Glover is

compliant with all conditions of release.

      Mr. Glover has no objection to any of the strict conditions of release

previously imposed—which include, among others, 24 hour home incarceration, the

presence of a third party custodian in the home at all times, and removal of Mr.

Glover’s bedroom door. See ECF No. 18. Mr. Glover has been incarcerated for over

six months. His incarceration has been marked by overly-punitive conditions where

23 hour lockdowns are the norm; basic things like personal hygiene is seen as a

luxury; and cells are filled with insects. It is clear Mr. Glover has a perfect

understanding of what is at stake if he were to violate even the simplest condition.

      Accordingly, Mr. Glover respectfully requests the Court place him in the High

Intensity Supervision Program under the custody of two third party custodians who

will ensure his compliance with any and all conditions imposed by the Court.
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                                 Respectfully submitted,

                                 A.J. Kramer
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                                 /s/
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